     Case 6:22-cv-02426-ACC-DCI Document 20 Filed 02/15/23 Page 1 of 2 PageID 77




                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

Michael R. McNeil,

         Plaintiff,
                                                 CASE NO. 6:22-CV-02426-ACC-DCI
v.

Dollar Daytona, LLC, and Family Dollar
Stores of Florida, LLC,

         Defendants.




                                 NOTICE OF SETTLEMENT

            Defendant, Family Dollar Stores of Florida, LLC, and Plaintiff, Michael R.

     McNeil, pursuant to M.D. Fla. L.R. 3.09, give notice that these parties have reached

     an agreement to settle this matter, subject only to the preparation and execution of a

     written settlement agreement and submission of dismissal papers to the Court. The

     parties anticipate that Co-Defendant, Dollar Daytona, LLC may join in the settlement

     in the near future. Therefore, the Parties request twenty (20) days to document and

     execute their settlement agreement, and to submit an appropriate stipulation and/or

     joint motion for dismissal of this action as to Family Dollar and/or all parties.




                                       [Signature to follow]
Case 6:22-cv-02426-ACC-DCI Document 20 Filed 02/15/23 Page 2 of 2 PageID 78




Dated this 15th day of February 2023.          Respectfully submitted,

                                               /s/ Courtney B. Wilson
                                               Courtney B. Wilson, Esq.
                                               Florida Bar No. 614580
                                               E-Mail: cwilson@littler.com
                                               Secondary: ccano@littler.com
                                               LITTLER MENDELSON, P.C.
                                               Wells Fargo Center
                                               333 SE 2nd Avenue, Suite 2700
                                               Miami, Florida 33131
                                               Telephone: 305.400.7500
                                               Facsimile: 305.603.2552

                                               COUNSEL FOR DEFENDANT
                                               FAMILY DOLLAR STORES OF
                                               FLORIDA, LLC.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served

via the Court’s electronic filing system upon Joe M. Quick, Esq., Law Offices of Joe

Quick, P.A., 1224 S. Peninsula Drive #619, Daytona Beach, Florida, 32118, and Todd

W. Shulby, Esq., Todd W. Shulby, PA, 1792 Bell Tower Lane, Weston, FL 33326

on February 15, 2023.


                                               /s/ Courtney B. Wilson
                                               Courtney B. Wilson, Esq.




4858-1292-4751.1 / 101688-1047




                                           2
